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                                                        & Confidential   Page 1 of 3
                                             Attorney Work Product


                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                               )
Climate United Fund,                           )
                                               )
                          Plaintiff,           )
                                                   CIVIL ACTION
                                               )
                                                   1:25-cv-00698
        v.                                     )
                                               )
Citibank, N.A., et al.,                        )
                                               )
                          Defendants.          )
                                               )
                                               )
Coalition for Green Capital,                   )
                                               )
                          Plaintiff,           )
                                                   CIVIL ACTION
                                               )
                                                   1:25-cv-00735
        v.                                     )
                                               )
Citibank, N.A., et al.,                        )
                                               )
                          Defendants.          )
                                               )
                                               )
Power Forward Communities, Inc.,               )
                                               )
                          Plaintiff,           )
                                                   CIVIL ACTION
                                               )
                                                   1:25-cv-00762
        v.                                     )
                                               )
Citibank, N.A., et al.,                        )
                                               )
                          Defendants.          )
                                               )

                    DEFENDANT CITIBANK, N.A.’S STATUS REPORT

        Pursuant to the Court’s March 18, 2025, Order granting in part and denying in part

Plaintiffs’ Motions for Temporary Restraining Order, ECF No. 29, Defendant Citibank, N.A.

submits the following status report.
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       Citibank is complying with this Court’s directives in its March 18 Order.             Citibank

understands those directives to require it to maintain the grant funds in Plaintiffs’ respective

accounts and to not transfer the funds to the Government or process Plaintiffs’ pending or future

payment instructions. See Memorandum Opinion, ECF No. 28, at 22 (“The court merely orders

the parties to preserve the status quo—that is, for Citibank to maintain the grant funds in Plaintiffs’

respective accounts.”); id. at 23 (“By preserving the status quo, the court is not … allowing

grantees to access billions of dollars in grant funds…. Preserving the status quo does not make

these funds unrecoverable.”) (quotations omitted); id. at 3 (granting a temporary restraining order

that is “more limited in scope than Plaintiffs’ proposed orders.”). In complying with the Court’s

directives that it “preserve the status quo,” id. at 22, Citibank will—absent further order from the

Court—not give effect to EPA’s Termination Letter but will continue to comply with EPA’s and

Treasury’s directives from March 10, 2025, that it “pause the processing of payment instructions

for the GGRF accounts until further notice,” ECF No. 14-2; see ECF No. 14-3.



 Dated: March 20, 2025                                   Respectfully submitted,


                                                   By: /s/ K. Winn Allen
                                                       K. Winn Allen, P.C.
                                                       Saunders McElroy
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                                                         Counsel for Defendant Citibank, N.A.




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 20th day of March 2025, I caused copies of the

foregoing to be served via the CM/ECF system:


                                                    /s/ K. Winn Allen
                                                    K. Winn Allen, P.C.
